 

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/PL we Agaee Of 23... LODGED

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE . CV-20-28-TUC-IR

 

COMPLAINT

 

 

 

CLERK US. DISTRI R
: BY DISTRICT OF ARIZONA
Of llessuR nalA drahciR, EKUD, in presence for BEC ere cmmeeeee DEPUTY)

then, securing Blessings and Luck of and for The People, as a

Spiritual Soul bound and unbound by all and no Law of Land,
Law of Sea; begot of William “Popsie” Russell, begot of Dwain
Franklin Russell and bore in, as, and of physical, natural,
form by the natural person titled Lauree Lee Russell on
January 21%, 1989, approximately 2 years after his full-blood
brother of natural person Alexander James Russell; of equal .
blood rights and claim to and on the HOUSE OF LLESSUR; duly
answering ONLY by act of motion to, at, and on behalf of the
natural person “Richard Alan Russell” v.C. as recognized by

all citizens of the Plant Earth;

being answerable at physical mailing address 4071 E. Santa
Barbara Ave, Unit 1, Tucson AZ 85711, phone +1 520 213 9973, |

preferred email rick.alan.russell@gmail.com; that is,

“Richard Alan Russell” V.C. as a natural person of flesh being
answered ONLY by his unlawfully lawful, Supremely empowered,
Spiritual Soul of, at, by llessuR nalA drahciR, EKUD;--

understanding, .

EKUD, llessuR nalA drahcir, enacts Consul, of a pro se and se
pro nature, as a spatially higher-dimensional Spiritual Soul
not understanding Universal (i.e. Human-kind) Law (e.g. of
Time), of and for the natural person titled “Richard Alan
Russell” V.c., in and for all acts, starting within the

present, forma pauperis.

Page 1 of 25
COMPLAINT

 
* 10

11
12
13

14

16
17
18
19
20
21

22

Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 2 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

 

JURISDICTION

- O£ Federal Personal and Federal Subject-matter, concerning
acts of Conspiracy, for preservation of a state of medicine

and state of being;

understanding Federal (Question) Jurisdiction, in an
applicable District Court, Supreme Court, or any
combination of a District and Supreme Court of law ruling |
over the State of Arizona and over The UNITED STATES OF

AMERICA; In and For:

The People of the City of Tucson, County of Pima, -
State: of Arizona, and understanding, ANY and ALL
lawfully and duly empowered order(s) and judgement (s)
ONLY be an act in spirit of fact in letter and color,
which itself has been bestowed, empowered, and
ascribed within Article 3 of the UNITED STATES

CONSTITUTION.

Page 2 of 25
COMPLAINT
23
24
25
26
27
28
29
30
31

32

33

34

35

36

- 37

38

39

40.

41 .

42

43

Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 3 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

PLAINTIFF
RICHARD ALAN RUSSELL V.C., with
Date of Birth January 21%, 1989, and of
Alias, vt. Russell’ ,° “Ricardo”, “Rick”, and
Represented by -llessuR nalA drahciR, ERUD, from, to, the

mail service address of 4071 E Santa Barbara Ave, Unit 1,

Tucson, AZ, 85711.

DEFENDANTS

Conspirators: THE UNIVERSITY OF ARIZONA (“UARIZONA"),
COLLEGE OF MEDICINE - TUCSON ("COM"), THE ARIZONA BOARD OF
REGENTS, doctor KEVIN F MOYNAHAN, doctor TAYLOR RIALL,
doctor SEAN P ELLIOTT, and doctor RICHARD KUMET, all with
the permanent mail service address of ‘Office of General

Counsel, University of Arizona, PO Box 210066, Tucson,

- Arizona 85721-0066', some with physical location of

‘Administration, Building, 1401 E. University Blvd., Room

103’.

Co-conspirators: Medical Doctors (i.e. doctors) within,

and acting as, legal and natural person(s) in compliant

Page 3 of 25
COMPLAINT

 

 

 

 

 

 

 

 

 
Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 4 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

 

 

45
46

47

49
50
51
52
53
54
55

56

57

58 —

59

60

61 -

62

63.

65

66.

67
68

69

understanding of the Law of the County of Pima, Law of the
State of Arizona, and Law of the Federal Presidential

Constitutional Republic of THE UNITED STATES OF AMERICA.
INTRODUCTION

Richard Alan Russell, and I have been wronged, and we have

no money, no experience , nor additional time lost to even .

pursue this case. We are a happy and high-functioning

homosexual male born in the State of Arizona, and we are
passionate about sharing raw knowledge, humanism, and
financial sustainability originated from within creative

realm(s) of the Artz, of The Medicine(s) .
NATURE OF ACTION

I, Richard Alan Russell V.C., had graduated from
undergraduate ‘studies at the University of Arizona
(UArizona) having taken over 50 credit hours -- including
graduate level coursework ‘in mathematics, philosophy,
econometrics, Business, etc..- over the: course of two
semesters and a summer. I was exhausted, but it got me a
scholarship to the UArizona:College of Medicine - Tucson
(CoM). The scholarship was 20k, which I invested over time
into building educational experiences for myself throughout
my approximate 6 years studying graduate médical doctor
coursework, hoping to earn an MD to help others, to serve

myself, and to delve into the field of science. I

_ originally requested a leave of absence (LOA), or

Page 4 of 25
COMPLAINT
Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 5 of 25

BEGIN: 12/12/2019 12:26:25 PM | 1.
MP 40:54:5 9102\61\21 :DNE : oe,

 

 

 

 

 

70
71
72
73
74
75
76
77
78
79
80
81
82

83

85

86°

87

88

89

90

91

92

93

94

95

deferment, before starting to make sure I truly wanted to .
commit to over 150k in student loan debt at the UArizona
CoM, while I traveled several continents asking “what makes
a good doctor” under stewardship of a long lost. benefactor.
However, I was notified that if I did not start immediately
that my scholarship funds would be revoked. So, I started
August of 2013. It is now January 0202; I was set to
graduate May 2020. I éven had an interview for a- primary

care family medicine residency program scheduled October

31st, 2019. What follows are the chronological events

. leading to my administrative drop from the UArizona CoM,

days before I took and passed my United States Licensing

Examination (USMLE) Step 2 Clinical Knowledge, while in the

middle of my successfully applying to residency.

Upon starting medical school, I remember wanting to

‘understand how the world worked. I was extremely passionate

about Black Woman’s rights. I even read and carried. around
with me one of the most powerful feminist books ever |
written -— Women, Race; and Class by Angela Davis. My scores
were never high on tests, and this was never my end goal.
My worst nightmare had been multiple choice tests, and
that's essentially all medical school examination. So, I
had to modify my study methods, but finally found -an
effective way to score somewhere between the 5th and 55th
percentile. (This considered, I was never a student at risk

of failing out due to baseline academic performance as

Page 5 of 25
COMPLAINT
Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 6 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

 

96 measured objectively in written examination.). Many a time,
97 | throughout medical school, I’ve been able to jump from the
98 4th national percentile (after not taking a single practice
99 question) to the 50th national percentile (for example,
100 after reading a 170 page surgery clerkship exam review
101 . book); the raw percent of the 50's (after being flown out
102.— to NYC to watch the Big Fish musical) to the 80’s (after
103 studying hard in my room at home), for example,.on my
104 neurology block final. All I had to do is study a, little
105 ' more to pass the examinations..this is a public university .
106 after all... |
107 Well I managed to get through the 1st year but wanted and.
108 needed a Leave of Absence (LOA) - remember too that my
109 deferral was denied the year prior. I took my first LoA as
110 a medical leave per administration’s suggestion; there
111 would be less questions asked in residency. I told the
112 counselor at the university I wanted to better balance out
113 my personal and professional life. Really, I wasn’t happy
114 with the book curriculum and unimpressed. And I had even
115 started to find legitimate, peer-reviewed research .
116 articles, which foreshadowed the monster awaiting me during
117 my 3rd clinical year: “Medical error—the third leading
118 . cause of death in the US” (see Hopkins-CDC-letter).
119 Anyways, back I came to allopathic schooling from this LOA,
120 having worked for a massage and wellness center and an
121 integrative health clinic for about a year. These temporary
Page 6 of 25 |

COMPLAINT

 
 

Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 7 of 25 ©

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

122 and part-time jobs led me to the con¢lusion that people

123 prefer whatever type of medicine they prefer, regardless of

124 quite a few factors, and that money is an underlying

125 current in any healthcare setting. So, I passed second year

126 and passed my USMLE Step 1 (the first of 2 steps for

127 ; graduation with an MD and 3 steps for medical licensure) .

128 . I started my clinical rotations of 3rd year with zeal and

129 gusto! I thought I finally was going to learn about the

130 practice of clinical medicine. This did not go well; that

131 -is learning the current’ state of clinical medicine. In

132 fact, it went: so poorly, after my first clinical Bemester I

133 ‘decided to take a personal leave out of the country. I had

134 . designed what I assume is the first Us MD program in

135 history that would allow students to graduate with a

136 foreign medical degree title and foreign second citizenship:

137 ' by taking 1-1.5 years abroad in Peru understanding

138 | international corporate law. The proposal was supported by
| 139 . the previous president of the UArizona under a Designated

140 Campus Colleague, "Dec", contract. And so off I went to

141 live in Peru for 14 months. I met my Princess galt; my

142 Peruvian cat that has provided me unending emotional and

143 mental support with her love. And before I knew it, after a

144 : squabble with a diplomat and an unfortunately demented

145. - grandmother who, despite being recorded by ‘the Peruvian

146 police at their own initiation: and will (for calling me a

147 woman and a pig like all the us. citizens) , atill: helped

Page 7 of 25

COMPLAINT

 

 

 

 
Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 8 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP.40:54:5 9102\61\21 :DNE

 

 

 

 

 

 

148 me check my rough draft translations of two Memorandums of

149 Understanding between the nations of India and Peru for

150 , integrating medicinal plants and traditional Indian

151 medicine into the worldz allopathy. .

152 | Then, back to the UArizona CoM, under strict agreement to

153 graduate in no more than 6.5 years total, or, my current
154 graduation date of May 2020. I knew that even some bad, and

155 all tribulation onward, will propel me to success of my

156 biggest dreams and goals to help others helping myself. I

157 '  gtarted my studies back up, ultimately having to decide:to

158 expire my special migratory permission from the government

159 of Peru, lose my chance to naturalize as a Peruvian

160 citizen, and continue to pursue something not right at the

161 UArizona CoM. I did my very best to not fail due.to the
162 graduation time constraint; I tried not to ask questions; I

163 tried to model behaviors; I tried everything. But there was

164 always a-doctor (or two) that hated my gute. HesheehseH'd

165 fail me no matter what I‘d do. 7

166 I re-took my psychiatry clerkship and passed. (Keep in mind

167 that at this point I had been: reported by the director the

168 psychiatry clerkship, a licensed psychiatrist along with

169 the interim curricular affairs directors for “mentally |

170 . unraveling”, specifically and immediately after I attempted

171. to collect - and did collect by act of fate, -magic, love,

172 hate, god, free will, or what’s humanity - due evaluation

173 forms from doctors I was assigned to work with by the |

. Page 8 of 25

COMPLAINT

 

 
Case 4:20-cv-00028-JAS-JR Document 1 Filed 01/16/20 Page 9 of 25

BEGIN: 12/12/2019 12:26:25 PM .
MP 40:54:5 9102\61\21 :DNE _

 

 

 

 

 

174 UArizona CoM and whom were happy to provide evaluations -,

175 and I had even one review written about me that I was

176 liable to permanently harm and kill patients from an

177 . anonymous surgery clerkship grader.)

“178 ' I retook my surgery clerkship, but was failed a second

179 . time. I don’t know why exactly I failed this second attempt

180 . because the school first sent me passing grades. Then, they
. 181 | said they collected more evaluations, but refused to send

182 me the corrected grades for well over the federal statute

183 time-limitation of 45-days upon request receipt, while

184 . completely ignoring my ~5 emails for more information over
185 the time of a month during this last appeal. And now we are

186 at present time. | | |

187 . I have been told by the Medical Director’s Director at

188 Canyon Ranch Inc, that due to what is obviously a “conflict .

189 _ of interest” - as I am forced to litigate ‘or carry more

190 than 250,000 USD in federal student loan debt with an

191 ’ approximate 6.0% interest rate until I am 55 - that I must .

192 discontinue my elective education with them despite

193 satisfactory performance.

194 Finally, I did receive access to my surgery grade(s) as

195 well as the rest of my FERPA protected educational records

196 both after 45 days of original receipt of request in

197 violation of federal statue, and I then discovered that the

198 faculty had been repeatedly concerned for their.safety per

- Page 9 of 25

COMPLAINT

 
199

200

201

202

203

204

205
206
207
208
209
210

211

212

(213
214
215
216

217

| 218
219

220
221

222

223°

 

Case 4:20-cv-00028-JAS-JR Document 1° Filed 01/16/20 Page 10 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

their emailed communication because of my physical presence
in legal acts of my natural person. I discovered that I was |
repeatedly called names of a clinical diagnostic nature
without ever being given an duly enforceable medical
examination, and that a picture of my face to identify me
was circulated to warn other’ faculty - despite the Dean of
Students marking me “no risk” to cause harm, despite the
University of Arizona Police Bepartment statement of *not
criminal” in nature, and despite the Deputy Dean of
Education filing a subsequent police report based my well .
worded and comprehensible email (to an assistant attorney
general of the State of Arizona) within the University of
Arizona Police department (UAPD) on November 1**, 2019. An.
employee even expressed concern for violation of federal
laws at this time, and I was physically located over 4
hours away by car at my brother’s house for the holidays
with my nieces. This was all to his, doctor Kevin. F
Moynahan’ s sound (in other words unsound reality of)

judgement and knowledge.

I, Richard Alan Russell, would like to settle out of court
to pay off my loans due to the following, documented

evidence-based claims:
CLAIMS

HARASSMENT - TITLE IX & FERPA VIOLATIONS

Claim 1

Page 10 of 25
COMPLAINT

 

 

 

 

 
 

Case 4:20-cv-00028-JAS-JR Document’1 Filed 01/16/20 Page 11 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

224 Being called a. “Dick” by a graduating senior over a
225 .  college-wide listserv with all students and faculty at the
226 UArizona CoM during my first weeks of school, with no end
227 intervention disallowing this behavior to continue by
228 administration and faculty year after year (written
229 documentation) . Thus, the UArizona has advertised itself
230 fraudulently, deceiving students into thinking it provides
231 ' modern professional behavior training and exposure;
232 - Claim 2
233 Having a resident physician give my cell phone number to a
234 patient. without my permission and not in-my presence
235 (written documentation); Having a physician send a group
236 text including other healthcare professionals about me
237 referring to a blow job (written documentation); Being told
238 .. I cannot send peer-reviewed article titles, abstracts, and
239 | or findings relevant to the team’s patient(s) via text
240 (personal. testimony) ; Being dismissed to academic half-day
241 | without explanation because I left the hospital building
242 during a fire (written documentation) ; Being told I have a
243 mental disorder when I tried to explain my personal
244 philosophy of dialetheism to an attending (personal |
245 | testimony); Later being explained to by the director of the
246 internal medicine clerkship that getting on the right
: 247 medicine for ADHD fixed all the problems for another ¢
248 student like me (personal testimony); Being called late
Page 11 of 25

COMPLAINT

 
 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 12 of 25
249 after work hours when I had the flu with the expectation
250 that I must pick up and discuss my “failures” for over an
251 hour, then being harassed in act of bullying by this same
252 doctor the next day during my lunch break for no patient-
253 related end (written documentation and personal testimony) ;
254 Claim 3
255 Having to repeatedly refuse to sign untrue and slanderous
256 and libelous statements against my professional character
257 and person then being penalized and retaliated for
258 exercising my right to and of refusal to sign (written
259 documentation); have physicians spread rumors about me
260 regarding false statements about my personal and
261 professional character repeatedly (written documentation
262 and personal testimony) ;
263 Claim 4
264 Being text late after work hours to answers of demands from
265 residents of me to discuss (for example) in detail my
266 communication about children's “stickers” and “cerebral
267 palsy” that Rick had had with patients - when in reality,
268 the next day the patient’s mother had me step forward in
269 front of the entire care team to highlight this very same
270 interaction I had had by staying with her immobile daughter
271 later than anyone on the team (written documentation) ;
272 being excluded from seeing patients with the rest of the
273 team (personal testimony); being required to process

Page 12 of 25

COMPLAINT
Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 13 of 25

BEGIN: 12/12/2019 12:26:25 PM : + j
MP 40:54:5 9102\61\21 :DNE .

 

 

 

 

274 medical records and not being recognized for my non-
275 educational work fixing broken doors and printers on the
276 unit when other hospital staff called for me on the phones
277 unknowingly as the manager of the entire hospital floor for
278 all this extra work to benefit the medical doctor
279 colleagues and teams (personal testimony and written
280 documentation) ;
281 Claim 5
282 Being accused of the crime of coercion because, while Rick
283 was alone in a closed room with 3 physicians refusing to
284 sign an evaluation falsely stating I had “questionable
285 honesty and integrity” and because according to the Dean of
286 Education, Rick shared my story in seeking support of
287 colleagues (written and phone recorded documentation) ;
288 Claim 6
289 Learning in an institute where there are not enough
290 patients to meet program training requirements; that is the
291 requirements as specified and as written by the UArizona
292 CoM for patient load (per student) necessary for training
293 and accountable performance evaluation, LCME documentation
294 and policy, and training of doctor skills (written
295 documentation) ;
296 Claim 7

Page 13 of 25

COMPLAINT
 

 

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 14 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

297 Retaliation for discussing and rightfully acting on my
298 frustration with the massive billing fraud that occurs
299 daily in the training hospitals (written documentation) ;
300 retaliation by the medical school medical doctors for
301 reporting unprofessional events in the workplace (written
302 documentation and personal testimony) ;
303 Claim 8
304 Verbal harassment by two faculty members (written
305 documentation); having the senior most attending surgeon
306 tell me we can’t have perverts work in the hospital
307 (personal testimony) ;
308 Claim 9
309 Being told if Rick wants to pass that Rick can’t ask
310 patient-related questions in public meetings that all
311 students attend, only ask in private, yet be praised for
312 one of these two same questions that Rick had asked during
313 the interdisciplinary healthcare team meetings (recorded
314 documentation) ;
315 Claim 10
316 Repeatedly being pulled away from my duties and clinical
317 study to address biased grades and biased appeals (written
318 documentation) and failures of the university to adhere to
319 their own written policy (written documentation) ;
320 Claim 11

Page 14 of 25

COMPLAINT
 

321
322
323
324
325
326
327
328
329
330
331
332

333

334

335
336
337
338
339
340
341
342
343
344

345

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 15 of 25

 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

Not receiving adequate responses to emails and grade
documentation in accordance with federal public university
requirements outlined in FERPA and having my professional,
legal, acts of natural person shared with faculty not ona
need to know basis, violating my student rights (written
documentation); being graded (and also reported) unequally
when compared with other students with access to materials
in advance (written documentation); culminating in the
UArizona CoM committing fraud by failing to satisfy the
Liaison Committee on Medical Education (LCME) accreditation
requirements and both internal UArizona CoM (therein the
UArizona itself) policy requirement and federal government

public university requirement for accreditation;
Claim 12

Devaluing Rick with continual disrespect, false accusations
against my professional and personal nature, belittlement,
hate, dehumanization, liable, and unequal treatment to
extremes of gas-lighting over multiple years - disregarding
the value of my time and energy by failing me for drawing
attention to medical confusion, to team errors resulting in
possible harm and death to patients, and to degradation of
patient-centered care - which all ultimately left me
helpless in my attempts to uphold the Hippocratic Oath,
subsequently driving my stress level so high that I had

experienced insomnia and general sleep loss for months on

Page 15 of 25
COMPLAINT

 
 

346

347

348

349

350

351

352

353

354

355

356

357

358

359

360

361

362

363

364

365

366

367

368

369

370

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 16 of 25

 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

end, IBS with literal explosive diarrheal episodes meeting
ADA requirements, abnormal heart palpitations for weeks,
and stroke-like events with sequelae. (written

documentation) ;
Claim 13

Having the licensed psychiatry clerkship director and the
(interim) dean of curricular affairs report me for mentally
“unraveling” to the Dean of Students ultimately because
Rick was trying to collect additional evaluation from my
"happily" willing program assigned, training physician(s)
(written documentation); (written documentation) .
Subsequent to my academic dismissal, a group of medical
doctors then continued defaming my mental state to police
as “disjointed”, “incoherent ramblings”, even leading to
multiple interviews with independent health care experts
that all said the contrary, in accord with the Dean of
Students; - that I was sane, no risk to harm myself, and no
risk to harm anyone else. These mental health interviews
even required I meet with a Crisis Mobile team at my house
in the middle of the night. And both technicians agreed
that I was a sane and normal person. That the school had

wronged me, and that I should get a lawyer;
Claim 14

Being subjected to sexually charged conduct (disturbing the
peace) by a UArizona Foundation board member, repeatedly in

Page 16 of 25
COMPLAINT
 

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 17 of 25

 

 

 

 

BEGIN: 12/12/2019 12:26:25 PM +
MP 40:54:5 9102\61\21 :DNE
371 his requesting for sexual advancement as separate from his
372 offer to invest in my companies (written and phone recorded
373 documentation); despite our understanding that we are only
374 focused on my company work;
375 Claim 15
376 Failure of the Office of General Counsel (as well as
377 multiple UArizona - CoM faculty) to investigate and respond
378 to my reports of lst amendment violation and of Title Ix
379 harassment violation to CoM (written and phone recorded
380 documentation) ;
381 Claim 16
382 Both the UArizona, CoM, committing a clear and repeated
383 pattern of abuse of discretion by neglecting to consider
384 valid and duly enforceable evidence, policy, and act (z)
385 (written documentation) ;
386 Claim 17
387 Defamation of character in form of both slander and liable
388 (police report with addendum[s]);
389 Claim 18
390 RICO Act violation of AZ state usury law (written
391 documentation, see AG’s case);
392 CIVIL CONSPIRACY VIOLATION
393 Claim 19
Page 17 of 25

COMPLAINT
Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 18 of 25

 

 

 

 

BEGIN: 12/12/2019 12:26:25 PM ‘ -'
MP 40:54:5 9102\61\21 :DNE We
394 In multiple clinical settings physicians graded my
395 performance as trouble(d) with hierarchy, trouble(d) with
396 narcissistic damage, trouble(d) with taking feedback, and
397 trouble(d) with ability to learn (clinical) medical
398 knowledge, instead of recognizing Rick was and Rick is
399 simply trying to change the current healthcare setting by
400 being myself for the benefit of my own person and the
401 benefit of the patients. This is why my Facebook post
402 quoting the 2016 British Medical Journal words “the third
403 leading cause of death in the US” was reported to the
404 police by a Deputy Dean of Education at the Uarizona
405 College of Medicine;
406 These troubles inaccurately ascribed to my person were
407 communicated as fear-stricken fact between a minority of
408 different doctors, deans, residents, and faculty with
409 complete disregard to the legal and professional duties of
410 medical doctors (i.e. contractual and consensual physical
411 and history examination by a licensed medical doctor to do
412 no harm). And this is why Rick has many completely
413 contradictory evaluations, stating that Rick is an
414 excellent medical student to the contrary;
415 It appears that this trouble describing me was accepted as
416 true and never questioned in writing by this minority of
417 different doctors, all of which comprise the conspirators
418 and co-conspirators. For example, not one of conspiratorial
Page 18 of 25

COMPLAINT
Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 19 of 25

 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

419 medical doctors ever asked on record, “maybe we should see
420 if Rick is being harassed and we are breaking federal laws
421 like one of our non-MD employees was concerned about?”) And
: 422 this minority of different doctors, deans, residents, and
423 faculty all agreed together that no objective voice
424 recordings, video recordings, nationally standardized
425 examinations, prepared academic medicine PowerPoint
426 presentation(s), additional evaluations from a diverse set
427 of licensed health care providers, peer-reviewed medical
428 journals, patient accounts, nor non-MD witness accounts be
429 used to establish fact;
430 This minority of different medical doctors were simply “the
431 doctors”, and they decided together with unsupported fact,
432 based NOT upon sound and complete evidence, that Rick
433 should not graduate because of the “trouble(z)” they
434 clinically saw in my person, both professionally and
435 personally;
436 Rick, as in I, told the defendants that they were breaking
437 federal laws and they continued to break federal laws (e.g.
438 freedom of belief, 45 CFR 88, RIN 0945-AA10, document 2019-
439 09667 was clearly violated) for intents and processes of
440 expelling me. This conspiratorial and bullying activity,
441 and subsequent unlawful activity, literally put me into a
442 perceived and very real, perceived, state of duress, as
Page 19 of 25

COMPLAINT

 
 

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 20 of 25

 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

443 recognized in writing and in free accord by both Plaintiff
444 and Defendant person(s).
44S DEMAND
446 For 7,000,000 USD cash;- that is SEVEN MILLION United
447 States Dollars cash, by
448 Demand for Jury Trial, for
449 Rick's personal and professional damages, which are both
450 repairable and irreparable in nature, understanding
451 applicable County, Division, State, Federal, and Supreme
452 lawful order(s) and judgement (s);- that is, by duly
453 empowered act understanding;- what is, as applicable within
454 and of the letter of tort, contract, or some combination of
455 tort and contract law(s), not to exclude restoration of and
456 for punitive and exemplary damages.
457 EXTRENAL (CASE) DOCUMENTS
458 1. Workplace bullying in NHS community trust: staff
459 questionnaire survey. Centre for Research in Health
460 Behaviour, Department of Psychology, University of Kent
461 at Canterbury, Canterbury CT2 7NP Lyn Quine, reader in
462 health psychology L.Quine@ukc.ac.ukBMJ 1999;318:228-32228
463 BMJ VOLUME 318 23 JANUARY 1999 www.bmj.com on 18 October
464 2019 by guest.

Page 20 of 25

COMPLAINT
 

465

466

467

468
469

470

471

472

473
474

475

476

477

478

479

480

481

482

483

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 21 of 25

 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

2. Workplace bullying in junior doctors: Questionnaire
survey Article (PDF Available) in BMJ (online)

324 (7342) :878-9 + May 2002.

Editorial

Mistreatment of Trainees:
Verbal Abuse and Other Bullying Behaviors

John H. Coverdale, M.D., M.Ed., FRANZCP
Richaed Balen, S4.10., Laura Weiss Roberts, M.D., M.A.

4. Virtual Mentor American Medical Association Journal of
Ethics March 2014, Volume 16, Number 3: 155-160.FROM THE
EDITOR To Bully and Be Bullied: Harassment and

Mistreatment in Medical Education.

Aggression among university employees
Kaj BjGrkqvist, Karin Osterman. Monika Hjelt-Back

First published: 1994 |
https://doi.org/10.1002/1098-2337( 1 994)20:3<173::AID-AB2480200304>3.0,C0;2-D

6. CARTER v. CURATORS OF THE UNIVERSITY OF MISSOURI Case No.
4:18-00426-CV-RK.

7. Carter v. Curators of the University of Missouri Missouri
Western District Court Judge: Roseann Ketchmark Case #:
4:18-cv-00426 Nature of Suit 190 Contract - Other
Contract Cause 18:1961 Racketeering (RICO) Act Case
Filed: Jun 01, 2018 Terminated: Mar 28, 2019.

8. Former Case Western Reserve University medical student
will likely lose degree for lack of "professionalism"

Updated Jan 11, 2019; Posted Mar 09, 2015.

Page 21 of 25
COMPLAINT
 

485
486
487
488
489
490
491
492
493

494

495

496

497

498

499

500

501

502

503

504
505

506

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 22 of 25

 

BEGIN: 12/12/2019 12:26:25 PM +
MP 40:54:5 9102\61\21 :DNE

 

 

 

9. NOVA SOUTHEASTERN UNIVERSITY OF THE HEALTH SCIENCES,
INC., d/b/a College of Osteopathic Medicine,
Appellants/Cross-appellees, v. Keith M. SHARICK,
Appellee/Cross-appellant. Nos. 3D08-2507, 3D08-
2705.Decided: August 26, 2009.

10. UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
COLUMBIACYRENA CHANG PAULIN, Plaintiff, v. THE GEORGE
WASHINGTON UNIVERSITY SCHOOL OF MEDICINE AND HEALTH
SCIENCES Defendant. Civil Action No. 12-86 (GK).

11.  UoA Handbook applicable to the time of events is not

available:
Rick Alan stick alan ussehegmel.com> @ Won, Dec, 8:46 PU (11 days ogo) fy
toasya ©
0 what ere the handbook policies?
3 Attachments &

Tetevessite
(OF ARONA oe oy
a d AG Re etal Sate. gy

Roberts, Asya D - (asya) via ematlarizona.onmicresofl.com Tun Dec 10,48 AM (10 days ago) ty wy

tome «

‘Yes, I sant another message yesterday asking the seme thing, This is very unclear, Vil let you inow what | receive back,
Thank you for your patience,
Ag

Asya Roberts
Executive Associate te the Vice Provast for Faculiy Affairs
12. Keith M. SHARICK, Appellant, v. SOUTH EASTERN
UNIVERSITY OF THE HEALTH SCIENCES, INC., Dr. Michael Ham

- Ying, Dr. Matthew A. Terry, and Dr. Arnold Melnick, and

Page 22 of 25
COMPLAINT
 

 

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 23 of 25

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

507 Donald A.Tobkin, Appellees.District Court of Appeal of
508 Florida, Third District.November 10, 2004.Rehearing
509 Denied February 9, 2005.
510 13. No. 3D98-2674 District Court of Appeal of Florida,
§11 Third District Sharickv. Southeastern University780 So.
$12 2d 136 (Fla. Dist. Ct. App. 2000) Decided Aug 2, 2000.
$13 14. WHAT CAN BE LEARNED FROM SHARICK V. SOUTHEASTERN
514 UNIVERSITY, Scott D. Makar Assistant General Counsel City
515 of Jacksonville, Florida
516 15. In the case of Morris v. Yale University, a medical
517 student sued Yale University for breach of contract
518 following his dismissal from school for his failure to
519 successfully complete a required examination. To succeed
520 in a breach of contract action, the medical student must
§21 prove: (1) the formation of an agreement; (2) the medical
§22 student performed as set forth in the agreement; and (3)
523 Yale breached the agreement and caused the medical
§24 student damages as a result.
525 16. Yale Medical Student Claims Breach of Contract After
526 Failing Exam July 1, 2016If you have a question or
527 concern about special education law, school
528 administration, federal standards, or the overall rights
529 of a student, please feel free to call the expert
530 education law attorneys at Maya Murphy, P.C. in Westport
$31 today at (203) 221-3100.

Page 23 of 25

COMPLAINT
532

533
534

535

536

537

538

539

540

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 24 of 25

 

BEGIN: 12/12/2019 12:26:25 PM | +.
MP 40:54:5 9102\61\21 :DNE wT

 

 

 

Under FERPA, a school must provide an eligible student with an opportunity to
inspect and review his or her education records within 45 days following its receipt of
a request. ... A case in point would be a situation in which the student does not live
within commuting distance of the school. Jun 26,2015

FERPA for Students - U.S. Department of Education
https://www?2.ed.gov > policy » gen » guid > fpco > ferpa » students

17.
AA, | Title IX
TITLE IX~ UAPOLICIES~ OPTIONS+ TRAINING PRINTED MATERIALS ADDITIONAL RESOURCESy VAWAS QUICK EXITS
Tithe (Xf
ie Ik S 1H t and Viol
exual Marassment an lo1ence
Titte 1X
Title IX of the Education Amendments of 1972 (Title IX°9, 20 U.S.C. $1681 et seq., Is 2 Federal civil rights law that prohibits
a Report discrimination on the basis of sex in education programs and activities. All public and private elementary and secondary schools,
‘The Law school districts, colleges, and universities (hereinafter “schools”) receiving any Federal funds must comply with Title IX. Under Title
1X, discrimination on the basis of sex can include sexual harassment or sexual violence, such as rape, sexual assault, sexual battery,
Definitions and sexual coercion,
sex . below adonal information regarding the specie requirements of Tite as they perthn fo seal harassment and sexs
survivor Advocacy” What are a school’s responsibilities to address sexual
me harassment and sexual violence?
Pregnancy
Athletics © Aschoot has a responsibility to respond promptly and effectively, if a school knows or reasonably should know about sexual
. . haressment or sexual violence that creates a hostile environment, the school must take immediate action to eliminate the
FAQs sexual harassment or sexual violence, prevent its recurrence, and address its effects.

Looe wwe eee Even if astudent or his or her parent does not want to file a complaint or does not request that the schoo! take any action on
First Amendment the student's behalf, if a school knows or reasonably should know about possible sexual harassment or sexual violence, it
. : must promptly investigate to determine what occurred and then take appropriate steps to resolve the situation.

. Press Releases © Actiminal investigation into allegations of sexual harassment or sexual violence does not relieve the school of its duty under
18. . . Tille 1X to resolve complaints promptly and equitably.

19. https://www.federalregister.gov/documents/2019/05/21/2
019-09667/protecting-statutory-conscience-rights-in-
health-care-delegations-of-authority

20. https://www.azag.gov/sites/default/files/docs/press-
releases/2017/reports/ABOR-COMPLAINT-FINAL. pdf”

21. Bevins v. Six Unkown Named Agents of Federal Burau of
Narcotics

Page 24 of 25
COMPLAINT
541

542

543

544

Case 4:20-cv-00028-JAS-JR Document1 Filed 01/16/20 Page 25 of 25

 

BEGIN: 12/12/2019 12:26:25 PM
MP 40:54:5 9102\61\21 :DNE

 

 

 

 

22. 42 USC. Section 1983 “deprivation of any rights,

privileges, or immunities secured by the Constitution and

[federal laws]

 

Page 25 of 25
COMPLAINT
